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                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION
 CORNERSTONE CREDIT UNION                     §
 LEAGUE, ET AL.                               §
                                              §
 v.                                           §     CIVIL NO. 4:25-CV-16-SDJ
                                              §
 CONSUMER FINANCIAL                           §
 PROTECTION BUREAU, ET AL.                    §

                                          ORDER

       Before the Court is Defendants’ Notice of Relevant Developments and

Unopposed Motion to Stay Proceedings. (Dkt. #23). 1 In the motion, Defendants

request three types of relief, all of which are agreed-to by Plaintiffs Cornerstone

Credit Union League and Consumer Data Industry Association. First, Defendants

request that the Court enter an agreed-upon “90-day stay of the Rule’s 2 March 17,

2025, effective date (i.e., a stay of the effective date until June 15, 2025).” (Dkt. #23

at 1–2). Second, Defendants request a 90-day stay of this litigation. (Dkt. #23 at 2).

Third, Defendants request the Court to “vacate the February 10 hearing on Plaintiffs’

motion for Preliminary Injunction.” (Dkt. #23 at 2). After full consideration,

Defendants’ motion is GRANTED.




       1 Defendants are the Consumer Financial Protection Bureau (CFPB) and Scott
Bessent, in his official capacity as Acting Director of the Bureau. This suit was filed against
the CFPB and Rohit Chopra in his official capacity as Director of the CFPB. Chopra has been
replaced by Acting Director of the Bureau Scott Bessent, who is automatically substituted as
a party under Federal Rule of Civil Procedure 25(d).

       2Prohibition on Creditors and Consumer Reporting Agencies Concerning Medical
Information (Regulation V), 90 Fed. Reg. 3276 (Jan. 14, 2025).
                                              1
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      It is therefore ORDERED that Defendants’ request for the entry of an agreed-

upon, 90-day preliminary injunction is GRANTED, and the effective date of the

Prohibition on Creditors and Consumer Reporting Agencies Concerning Medical

Information
      .     (Regulation V), 90 Fed. Reg. 3276 (Jan. 14, 2025), is STAYED under 5

U.S.C. § 705 until June 15, 2025.

      It is further ORDERED that all deadlines scheduled in this matter are

STAYED until May 7, 2025.

      It is further ORDERED that the hearing on Plaintiffs’ Motion for a

Preliminary Injunction is rescheduled to May 12, 2025, at 1:00 p.m. at the United

States Courthouse located at 7940 Preston Road, Courtroom 105, Plano, Texas.


          So ORDERED and SIGNED this 6th day of February, 2025.




                                                   ____________________________________
                                                   SEAN D. JORDAN
                                                   UNITED STATES DISTRICT JUDGE




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